                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION


HENRY LOSCH
a/k/a John Losch,

               Plaintiff,
                                                      Case No.: 2:18-cv-00809-FtM-99MRM
vs.

NATIONSTAR MORTGAGE LLC, et al.,

            Defendants.
_________________________________


                    PLAINTIFF’S FIRST AMENDED COMPLAINT
                         AND DEMAND FOR JURY TRIAL

       COMES NOW the plaintiff, Henry Losch a/k/a John Losch (“Mr. Losch”), by and

through the undersigned counsel, and hereby brings this Amended Complaint and Demand

for Jury Trial (“Complaint”) against Defendants Nationstar Mortgage LLC, d/b/a Mr. Cooper

(“Nationstar”), and Experian Information Solutions, Inc (“Experian”), together as

“Defendants,” alleging violations of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C.

§1681 et seq., the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq.

and the Florida Consumer Collection Practices Act (“FCCPA”), Fla. Stat. §559.55, et seq.

                              JURISDICTION AND VENUE

       1.      Jurisdiction of this Court arises under 28 U.S.C. § 1331, 15 U.S.C. § 1692k(d),

and 28 U.S.C. § 1367 for pendant state law claims.

       2.      Venue is proper pursuant to 28 U.S.C. §1391(b)(2) because a substantial part

of the events or omissions giving rise to the claims occurred in this District.

       3.      Defendants transact business here; personal jurisdiction is established.




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                    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                                           PARTIES

       4.       Plaintiff, Henry Losch, is a natural person who resides in Lee County, Florida,

and is a “consumer” as that term is defined by 15 U.S.C. § 1681a(c), 15 U.S.C. § 1692a(3)

and Fla. Stat. § 559.55(8).

       5.       Defendant Nationstar, d/b/a Mr. Cooper, is a Texas financial institution with

its principal place of business located at 8950 Cypress Waters Blvd., Coppell, TX 75019-

4620, and is registered for conducting business in the state of Florida and has a registered

agent in Florida, Corporation Service Company, 1201 Hays Street, Tallahassee, FL 32301-
2525. Nationstar is engaged in the business of servicing and holding mortgage loans in the

State of Florida and nationwide. Defendant is a “debt collector” as that terms is defined by 15

U.S.C. § 1692a(6) and Fla. Stat. § 559.55(7). Defendant is “furnisher” of consumer credit

information as that term is used in 15 U.S.C. § 1681s-2.

       6.       Defendant Experian is a consumer reporting agency with its principal place of

business located at 475 Anton Boulevard, Costa Mesa, CA 92626 and is registered for

conducting business in the state of Florida and has a registered agent in Florida, CT

Corporation System, 1200 South Pine Island Road, Plantation, FL 33324. Experian is one of

the largest CRAs in the world. Experian is a “consumer reporting agency” as defined in

Section 1681a(f) the FCRA.

       7.       Defendants acted through their agents, employees, officers, members,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives,

and insurers.

                                         GENERAL FACTS

       8.       Mr. Losch owned real property located at 1139 Cord Court, Apopka, Florida

32712 (the “Property”).

       9.       The Property was purchased as the primary residence of Mr. Losch.



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                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
        10.     Mr. Losch lived in the home for at least a year before he was transferred for

work and relocated to Fort Myers.

        11.     On March 24, 2017, Mr. Losch and his wife filed for bankruptcy under Chapter

7 of Title 11, the Bankruptcy Code. Mr. Losch filed his bankruptcy in the Middle District of

Florida, Fort Myers Division, case number 9:17-bk-02438FMD.

        12.     Mr. Losch’s bankruptcy schedules specifically listed the mortgage loan owed

to CitiMortgage, Inc. (“CitiMortgage”) in the amount of $143,000.00 for the Property.

        13.     At the time Mr. Losch’s bankruptcy was filed, the Property was used as a rental
and was tenant occupied. The rental income from the Property was disclosed on Schedule I

of Mr. Losch’s bankruptcy petition.

        14.     Mr. Losch’s payments to CitiMortgage were current at the time of the

bankruptcy filing.

        15.     Mr. Losch appeared at the First Meeting of Creditors on April 24, 2017.

        16.     On May 5, 2017–eleven days after the First Meeting of Creditors was held–

Mr. Losch signed a reaffirmation agreement (“Reaffirmation”) with CitiMortgage, Inc for the

Property.

        17.     On May 18, 2017, the bankruptcy Trustee filed a Motion to Sell Property of

the Estate.

        18.     On May 19, 2017, the Court sent a Notice of Deadline to File a Proof of Claim.

The notice stated that there were possible assets in the case and the deadline to file a proof of

claim was August 21, 2017.

        19.     On June 15, 2017, CitiMortgage filed a response to the Trustee’s Motion to

Sell Property of the Estate. The response stated that CitiMortgage may wish to negotiate and

outbid the proposed sale price. It also stated that it was entitled to payment from the

disposition of the property until its claim is paid in full.



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                     FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
       20.     On June 16, 2017, CitiMortgage filed a Notice of Withdrawal of Response to

Motion to Sell Property of the Estate.

       21.     On June 20, 2017, the Bankruptcy Court issued an Order granting the Motion

for Authority to Sell Property of the Estate.

       22.     On June 21, 2077, CitiMortgage filed a proof of claim for $140,441.86 in Mr.

Losch’s bankruptcy proceeding.

       23.     On June 26, 2017, Mr. Losch was granted a discharge in bankruptcy. The

discharge order was sent by the Bankruptcy court to his creditors, including CitiMortgage.
       24.     On June 29, 2017, the Trustee’s Quit Claim Deed transferring the Property

from trustee for the Bankruptcy Estate of Henry John Losch, III and Jody Darlene Losch to

the new owner was recorded with the Orange County, Florida Comptroller’s Office;

Document #20170363605.

       25.     On or about, July 14, 2017, Mr. Losch’s bankruptcy counsel received a letter

from CitiMortgage referencing Mr. Losch’s bankruptcy filing and stating that effective

August 1, 2017, the servicing of Mr. Losch’s mortgage for the Property would be transferred

from CitiMortgage to Nationstar.

       26.     Accordingly, Nationstar stood in the shoes of CitiMortgage with respect to

matters related to collection of the subject debt from Mr. Losch.

       27.     On or about, August 9, 2017, Mr. Losch’s bankruptcy counsel received a letter

from Nationstar referencing Mr. Losch’s bankruptcy filing and provided notice that Nationstar

recently acquired the loan for the Property.

       28.     Mr. Losch began receiving invoices and statements from Nationstar monthly

showing his new past due balances for the Property.

       29.     On or about November 20, 2017, Mr. Losch filed a Motion to Set Aside Order

Granting Discharge Temporarily to Allow Debtor to Rescind Reaffirmation Agreement.



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                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
       30.     On or about February 7, 2018, Mr. Losch filed a Notice of Hearing and

Amended Motion to Set Aside Order Granting Discharge Temporarily to Allow Debtor to

Rescind Reaffirmation Agreement and properly served these documents to Nationstar.

       31.     On or about March 2, 2018, Mr. Losch received a letter from Nationstar stating

that it was the mortgage loan servicer.

       32.     On or about April 5, 2018, a Notice of Rescission was filed with the court. The

rescission states that the reaffirmation agreement previously signed by Mr. Losch for the

Property on or about May 5, 2017 is rescinded.
                         FACTS RELATIVE TO CREDIT REPORTING

       33.     On or about May 25th, 2018, Mr. Losch pulled his credit reports and found

that Experian was still reporting a balance for Nationstar in the amount of $139,853.00, a past

due balance of $10,006, and 180 days past due for February and March 2018. Experian was

also not properly reporting the account as discharged in bankruptcy.

       34.     On or about June 15, 2018, Mr. Losch mailed Experian a dispute stating that

the Nationstar account was discharged in his Chapter 7 bankruptcy case.

       35.     Upon information and belief, on or about June 18, 2018, Experian received the

dispute letter from Mr. Losch and forwarded the dispute to Nationstar so that Nationstar could

investigate the contents of the dispute.

       36.     On or about July 12, 2018, Mr. Losch received the dispute results from

Experian.

       37.     The dispute results reflect that Experian and Nationstar did not correct the

account. Instead, the past due balance increased and it was reporting an additional 180 days

late for May 2018 and June 2018.

       38.     The inaccurate reporting on his credit has damaged his credit beyond what the

bankruptcy had done and has made it increasingly difficult to be approved for any credit.



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                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                         FACTS RELEVANT TO DEBT COLLECTION

        39.     Between March 2018 and April 2018, Nationstar mailed Mr. Losch numerous

letters stating that his loan was past due.

        40.     On or about March 2, 2018, Plaintiff received a letter from Nationstar stating

that his loan was past due for the 8/1/2017 payment and due for all payments from and

including that date in the amount of $10,163.11.

        41.     On or about, March 20, 2018, Plaintiff received a letter from Nationstar stating

that Plaintiff was 232 days delinquent on his mortgage loan.
        42.     On or about, March 20, 2018, Plaintiff received a Mortgage Loan Statement

from Nationstar reflecting a past due balance.

        43.     On or about, March 28, 2018, Plaintiff received an email from Nationstar

indicating that he is behind on payments and states “Let’s discuss your home loan options.

We know keeping up with a mortgage can be challenging”.

        44.     Despite the Order of Discharge and Notice of Rescission filed on April 5, 2018,

Mr. Losch continued to receive correspondence and collection letters each month from the

Nationstar.

        45.     Plaintiff received a letter dated April 10, 2018, from Albertelli Law stating that

it represented Nationstar, the “creditor and servicer for the loan” related to the Property. The

letter contains debt validation language and states the following: “if you are . . . a debtor in

bankruptcy or have been discharged in bankruptcy, this letter is provided to you for

information purposes to notify you of our Firm’s legal retention. You should consult legal

counsel regarding your obligations . . . if you previously received a discharge in a bankruptcy

case involving this loan and did not sign a reaffirmation agreement, then this letter is not an

attempt to collect a debt from you personally.”

        46.     Plaintiff received a letter dated April 12, 2018, offering Mr. Losch a three (3)



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month trial period plan for the Property.

       47.     Plaintiff received Mortgage Loan Statement dated April 18, 2018, which stated

the amount due to Nationstar on the mortgage loan was $12,599.77. The Mortgage Loan

Statement included a tear-off payment coupon which stated the total amount due on May 1,

2018, was $12,599.77, and further stated that the total due would be $12,599.77 if payment

was received on or after May 17, 2018.

       48.     On or about May 9, 2018, Mr. Losch and his wife were served with a Summons

& Complaint filed by Nationstar, case no. 2018-CA-4865 [WHAT COURT?]. Attached to the
summons were Interrogatories, Request for Production of Documents, and Request for

Admissions to Plaintiffs.

       49.     Plaintiff received a letter dated May 18, 2018, stating that Mr. Losch was 291

days delinquent on his mortgage loan.

       50.     Plaintiff received a “Mortgage Loan Statement” dated May 18, 2018, reflecting

a reinstatement amount due $16,996.10. The Mortgage Loan Statement included a tear-off

payment coupon which stated the reinstatement amount due on June 1, 2018, was $16,996.10,

and further stated that the payment due would be $16,6996.10 if payment was received on or

after June 17, 2018.

       51.     On or about April 20, 2018, Mr. Losch received a call from Nationstar about

his mortgage account. Nationstar made this phone call directly to Mr. Losch when they knew

he was represented by counsel.

       52.     On or about June 14, 2018, Mr. Losch filed a response to the Summons and

Complaint stating the following:

       “We deny the accuracy of this filing as we no longer own the property. It was sold to

Tavira Properties in June 2017.”

       53.     Even after Mr. Losch submitted a dispute to Experian and filed a response to



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Nationstar’s summons, he still continued to receive collection letters.

       54.     Plaintiff received a letter dated June 15, 2018, offering Mr. Losch a three (3)

month trial period plan.

       55.     Plaintiff received a letter dated June 19, 2018, stating that Mr. Losch was now

323 days delinquent on his mortgage loan.

       56.     Plaintiff received a Mortgage Loan Statement dated June 19, 2018, reflecting

overdue payments in the amount of $13,904.73, lender paid expenses in the amount of

$3,127.50, partial payment (unapplied) in the amount of $5.63; and a reinstatement amount
due in the amount of $18,325.93.

       57.     After Mr. Losch received the dispute results from Experian, he still continued

to receive correspondences from Nationstar:

       58.     Plaintiff received a letter dated July 15, 2018, offering Mr. Losch a three (3)

month trial period plan for the Property.

       59.     Plaintiff received a Mortgage Loan Statement dated July 18, 2018 reflecting

overdue payments in the amount of $15,204.06, lender paid expenses in the amount of

$4,372.50, partial payment (unapplied) in the amount of $5.63; and a reinstatement amount

due in the amount of $20,870.26.

       60.     Plaintiff received a letter dated July 18, 2018, stating that Mr. Losch was now

352 days delinquent on his mortgage loan.

       61.     Plaintiff received a Mortgage Loan Statement dated August 20, 2018,

reflecting overdue payments in the amount of $13,255.32, lender paid expenses in the amount

of $4,687.50, partial payment (unapplied) in the amount of $5.63; and a reinstatement amount

due in the amount of $18,956.83.

       62.     Plaintiff received a letter dated August 14, 2018, offering Plaintiff a three (3)

month trial period plan for the Property.



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                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
       63.     Plaintiff received Escrow Review Statement dated August 24, 2018, reflecting

a shortage of $3,701.50.

       64.     Plaintiff received a letter dated September 2, 2018, offering “loss mitigation

options.”

       65.     Plaintiff received a Mortgage Loan Statement dated September 18, 2018,

reflecting overdue payments in the amount of $14,274.96, lender paid expenses in the amount

of $4,702.50, partial payment (unapplied) in the amount of $5.63; and a reinstatement amount

due in the amount of $20,536.17.
       66.     Mr. Losch continues to receive letters from Nationstar claiming increasingly

large amounts due.

       67.     Mr. Losch is shocked, confused and upset, because he thought his liability for

the mortgage was extinguished when his bankruptcy trustee sold the property to a third party.

       68.     Moreover, Mr. Losch’s correct understanding was that any personal liability

he may have had for the debt owed to Nationstar would have been discharged in his

bankruptcy and after his reaffirmation was rescinded.

       69.     At no time during Mr. Losch’s bankruptcy case did CitiMortgage or Nationstar

challenge the dischargeability of the debt in question.

       70.     Subsequent to entry of the order of Discharge and subsequent to the Notice of

Rescission of Reaffirmation agreement in Mr. Losch’s bankruptcy case, Nationstar continued

to send Mr. Losch monthly Mortgage Loan Statements and other correspondence indicating

the discharged debt remained owed to Nationstar.

       71.     The monthly statements each included an amount due, a payment due date, and

most notably, a tear-off coupon which instructed Plaintiff to detach and include with his

payment.

       72.     The Mortgage Loan Statements and other collection letters mailed to Mr.



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                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
Losch demanding payment were sent after discharge, after the notice of rescission of

reaffirmation, and after Nationstar was aware that the Property no longer belonged to Mr.

Losch.

         73.   There can be no reason for Nationstar to send such statements other than for

the purpose of pressuring Plaintiff into paying a debt he does not owe.

         74.   Nationstar knew or should have known that Mr. Losch was granted a discharge

by the Bankruptcy Court.

         75.   Nationstar knew or should have known that the bankruptcy Trustee sold the
Property to a third party and that Mr. Losch no longer owned the Property.

         76.   Nationstar sent numerous letters and Mortgage Loan Statements to Mr. Losch

regarding the outstanding loan. Nationstar communicated with Mr. Losch with such

frequency, and in a manner that reasonably could be seen as abusive and harassing in nature.

         77.   Mr. Losch is 74 years old and no longer employed, his only income is social

security.

         78.   Mr. Losch’s wife has also had to pick up several part-time jobs to help afford

the home they currently live in in Ft. Myers, Florida.

         79.   Mr. Losch and his wife have been struggling to recover from their bankruptcy

and the constant contact from Nationstar has added to their stress and anxiety.

         80.   The actions of Nationstar as alleged herein constitute willful, intentional, gross

and flagrant violations of the FDCPA and the FCCPA.

                                           COUNT I

         NATIONSTAR’S VIOLATIONS OF THE FAIR CREDIT REPORTING ACT (“FCRA”)

         81.   Mr. Losch incorporates by reference paragraphs one through thirty-eight (1-

38) of this Complaint as though fully stated herein.

         82.   At all times pertinent hereto, Defendant Nationstar was a “person” as that term



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                  FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
is defined by 15 U.S.C. § 168la(b) and a “furnisher of information” to the credit reporting

agencies.

       83.     Nationstar has a duty to provide accurate information to consumer reporting

agencies, and to correct inaccurate information after receiving notice of a credit dispute

directly from a consumer, see 15 U.S.C. § 1681s-2(a).

       84.     Nationstar also has an obligation under 5 U.S.C. § 1681s-2(b) to conduct an

investigation after receiving notice of a credit dispute from a consumer reporting agency.

       85.     On at least one occasion within the past two years, by example only and
without limitation, Defendant Nationstar violated 15 U.S.C. § 1681s-2(b)(1)(A) by failing to

fully and properly investigate Plaintiff’s disputes.

       86.     The FCRA requires a furnisher, such as Nationstar–after receiving notice from

a credit reporting agency that a consumer disputes information that is being reported by that

furnisher–to conduct an investigation with respect to the disputed information, to review all

relevant information, to report the results of the investigation to the credit reporting agency,

and, if the investigation reveals that the information is incomplete or inaccurate, to report

those results to all other credit reporting agencies to which the furnisher has provided the

inaccurate information.

       87.     Experian notified Nationstar about Mr. Losch’s dispute. The Experian Dispute

Results specifically states the following:

       “we have contacted the company reporting the information you disputed, supplied

them all relevant information and any documents you gave us with your dispute and instructed

them: review all information we provide them about your dispute; verify the accuracy of the

information; provide us a response to your dispute; and update their records and systems as

necessary.”

       88.     Nationstar failed to properly investigate Mr. Losch’s dispute and failed to



                                       -11/19-
                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
correct the inaccurate information.

       89.     On information and belief, Nationstar’s actions in the instant matter are

representative of their normal policies and procedures - responding to disputes by providing

only a cursory review of basic information and failing to investigate any further or failing to

investigate and remediate any errors entirely.

       90.     Nationstar’s conduct violated § 1681s-2(b) of the FCRA. Nationstar willfully

and/or negligently violated these provisions of the FCRA in the following manner:

       (a)             By willfully and/or negligently failing to conduct an investigation of
the inaccurate information that the Plaintiff disputed;

       (b)             By willfully and/or negligently failing to review all relevant

information concerning the Plaintiffs account as provided;

       (c)              By willfully and/or negligently failing to report the results of their

investigation of the inaccurate information to all credit reporting agencies;

       (d)             By willfully and/or negligently failing to modify or delete incomplete

or inaccurate information in Plaintiffs file after conducting an investigation;

       (e)             By willfully and/or negligently failing to modify or delete inaccurate

or incomplete information after conducting a reinvestigation;

       (f)             By willfully and/or negligently failing to permanently block the

reporting of the inaccurate information disputed by the Plaintiff and continuing to report and

furnish inaccurate or incomplete information in Plaintiffs file to credit reporting agencies; and

       (g)             By willfully and/or negligently failing to comply with all requirements

imposed on “furnishers of information” by 15 U.S.C. § 1681s-2(b).

       91.     As a result of this conduct, action and inaction of Nationstar, Plaintiff suffered

damages, mental and emotional pain and anguish and the humiliation and embarrassment of

the credit denials, reductions in lines of credit and reputation.



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                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
       92.      Further, Plaintiff suffered actual damages including the time and money spent

to obtain credit reports, submit a dispute to Experian, and to speak with Nationstar frequently

about his issue.

       93.      The conduct, action and inaction of Nationstar was both willful and reckless,

rendering it liable for punitive damages in an amount to be determined by the Court pursuant

to 15 U.S.C. § 1681n.

       94.      In the alternative, the conduct, action and inaction was negligent, thereby

entitling Plaintiff to recover under 15 U.S.C. § 1681o.
       95.      Plaintiff is entitled to recover actual damages, statutory damages, costs and

attorney’s fees from Nationstar in an amount to be determined by the Court pursuant to

§§1681n and 1681o.

                                              COUNT II

             EXPERIAN’S VIOLATIONS OF THE FAIR CREDIT REPORTING ACT (“FCRA”)

       96.      Mr. Losch incorporates by reference paragraphs one through thirty-eight (1-

38) of this Complaint as though fully stated herein.

       97.      Experian violated 15 U.S.C. §1681e(b) by failing to establish and/or to follow

reasonable procedures to assure maximum possible accuracy in the preparation of the

Plaintiff’s credit reports and credit files it published and maintained concerning the Plaintiff.

       98.      Experian violated 15 U.S.C. § 1681i(a)(1) by failing to conduct a reasonable

reinvestigation to determine whether the disputed information was inaccurate and record the

current status of the disputed information or delete the item from Plaintiff’s credit report.

       99.      Experian violated 15 U.S.C. § 1681i(a)(2)(A) by failing to provide Defendant

Nationstar all of the relevant information regarding Plaintiff and his dispute.

       100.     Experian violated 15 U.S.C. § 1681i(a)(5)(A) by failing to promptly delete the

disputed inaccurate information from Plaintiff’s credit file or correct the inaccurate



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                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
information upon reinvestigation.

          101.   As a result of Experian’s violations of the FCRA, Plaintiff suffered actual

damages which have been further described above.

          102.   The violations by Experian were willful, rendering Experian individually

liable for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n. In the alternative, Experian was negligent, which entitles the Plaintiff to recovery

under 15 U.S.C. §1681o.

          103.   Plaintiff is entitled to recover actual damages, statutory damages, costs and
attorney’s fees from Equifax in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n and §1681o.

                                           COUNT III

                 VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

          104.   Mr. Losch incorporates by reference paragraphs one through thirty-two (1-32)

and paragraphs thirty-nine through ninety (39-80) of this Complaint as though fully stated

herein.

          105.   The foregoing acts and omissions of Nationstar constitute violations of the Fair

Debt Collection Practices Act.

          106.   Nationstar authorized and generated Mortgage Loan Statements and other

correspondence that were mailed to Mr. Losch to collect a debt it knew had been discharged

in Mr. Losch’s bankruptcy.

          107.   The debt was not only discharged in Mr. Losch’s bankruptcy, but Nationstar

knew Mr. Losch no longer had legal ownership to the Property.

          108.   Nationstar violated 15 U.S.C. §1692e(2)(A), which provides that a debt

collector may not make a false representation of the “character, amount, or legal statue of any

debt,” by sending the Mortgage Loan Statements and other correspondence.



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       109.    Nationstar was falsely alleging that the debt was owed despite the fact that

such debt had been discharged in Mr. Losch’s bankruptcy.

       110.    Further, Nationstar violated 15 U.S.C. §1692e(10), which provides that a debt

collector may not use “any false representation or deceptive mans to collect or attempt to

collect any debt.”

       111.    Nationstar   sent   numerous     Mortgage     Loan    Statements     and   other

correspondence to Plaintiff demanding payment on a debt that was discharged in bankruptcy.

       112.    Additionally, Nationstar violated 15 U.S.C. §1692f, which provides that “a
debt collector may not use unfair or unconscionable means to collect or attempt to collect any

debt,” by intentionally attempting to collect on this alleged consumer debt when Nationstar

knew that the debt had been discharged in Plaintiff’s bankruptcy.

       113.    The statements sent by Nationstar were deceptive, unfair, and unconscionable

in that they gave Mr. Losch the impression that the debt remained owed despite the bankruptcy

discharge. The statements also reflected a “reinstatement amount due” and included a

detachable payment coupon, giving the Plaintiff the impression that he must pay the debt.

       114.    As a direct and proximate result of Nationstar’s actions in violation of the Fair

Debt Collection Practices Act, the Plaintiff has suffered statutory and actual damages,

including but not limited to embarrassment, fright, shock, nervousness, anxiety, humiliation

and emotional and mental pain and anguish

       115.    Plaintiff has incurred costs, expense and reasonable attorney’s fees which

would not have been incurred but for Nationstar’s violations of the FDCPA. Consequently,

the Plaintiff seeks actual damages, statutory damages, reasonable attorney’s fees and costs

pursuant to 15 U.S.C. §1692k.




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                     FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                                            COUNT IV

           VIOLATIONS OF THE FLORIDA CONSUMER COLLECTION PRACTICES ACT,

                                       Fla. Stat. §559.72(9)

          116.   Mr. Losch incorporates by reference paragraphs one through thirty-two (1-32)

and paragraphs thirty-nine through ninety (39-90) of this Complaint as though fully stated

herein.

          117.   The foregoing acts and omissions of Nationstar constitute violations of the

FCCPA.
          118.   Nationstar authorized and generated Mortgage Loan Statements and other

correspondence that were mailed to Mr. Losch to collect a debt it knew had been discharged

in Mr. Losch’s bankruptcy.

          119.   The debt was not only discharged in Mr. Losch’s bankruptcy, but Nationstar

knew the bankruptcy trustee sold the property to a third party and that Mr. Losch no longer

had legal ownership to the property related to Nationstar’s loan.

          120.   Under the provisions of the Florida Statute §559.72(9), Nationstar is prohibited

from claiming or attempting to enforce a debt or existence of some other legal right when

Nationstar knows it does not exist.

          121.   Nationstar violated §559.72(9) by sending Mortage Loan Statements and other

correspondence to Mr. Losch in an attempt to enforce a debt that had been discharged in Mr.

Losch’s bankruptcy.

          122.   As a direct and proximate result of Nationstar’s actions in violation of the

Florida Statute, Mr. Losch has suffered statutory and actual damages, including but not limited

to, embarrassment, fright, shock, nervousness, anxiety, humiliation and emotional and mental

pain and anguish

          123.   As a result of Nationstar’s violations of the FCCPA, Plaintiff is entitled to



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                    FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
actual damages, statutory damages in an amount up to $1,000.00, and reasonable attorney’s

fees and costs pursuant to Florida Statute §559.77.

        124.    Additionally, §559.77 provides that a court may award punitive damages as

well as equitable relief to Plaintiff such as enjoining further illegal collection activity.

                                         TRIAL BY JURY

        Plaintiff is entitled to and herby demands a trial by jury on all issues so triable.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, Henry Losch, respectfully requests judgment be entered
against Defendants, for the following:

            A. Actual damages against Nationstar and Experian pursuant to 15 U.S.C. §

                1681n(a);

            B. Statutory damages against Nationstar and Experian pursuant to 15 U.S.C. §

                1681n(a)(1)(A);

            C. Punitive damages against Nationstar and Experian pursuant to 15 U.S.C. §

                1681n(a)(2);

            D. Actual damages against Nationstar pursuant to 15 U.S.C. §1692k(a)(1) and

                Fla. Stat. §559.77(2);

            E. Statutory damages against Nationstar pursuant to 15 U.S.C. §1692k(a)(2)(A)

                and Fla. Stat. §559.77(2);

            F. Punitive damages against Nationstar pursuant to Fla. Stat. §559.77(2);

            G. Cost and reasonable attorney’s fees against Nationstar pursuant to 15 U.S.C.

                §§1681n(c), 1681o(b), 1692k(3); and Fla. Stat. §559.77(2);

            H. Cost and reasonable attorney’s fees against Experian pursuant to 15 U.S.C.

                §§1681n(c), 1681o(b); and

            I. Awarding Plaintiff any pre-judgment and post-judgment interest as may be



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                   FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
             allowed under the law; and

          J. For such other and further relief as the Court may deem just and proper.



Dated: March 21, 2019.
                                                  Respectfully Submitted,

                                                  By:/s/ Aaron M. Swift
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                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
                           CERTIFICATE OF SERVICE
       I hereby certify that on March 21, 2019, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system. Notice of such filing will
be sent to all attorneys of record in this matter. Since none of the attorneys of record
are non-ECF participants, hard copies of the foregoing have not been provided via
personal delivery or by postal mail.

                                                  By:/s/ Aaron M. Swift
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                                     -19/19-
                 FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
